          Case 1:11-vv-00852-UNJ Document 90 Filed 01/09/15 Page 1 of 2




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                            No. 11-852V
                                     Filed: December 19, 2014
                                         Not for Publication


*************************************
LINDSEY ANNE MILLER,                         *
                                             *
               Petitioner,                   *    Interim attorneys’ fees and costs decision
                                             *    based on stipulation of fact
 v.                                          *
                                             *
SECRETARY OF HEALTH                          *
AND HUMAN SERVICES,                          *
                                             *
               Respondent.                   *
                                             *
*************************************
Patricia A. Finn, Piermont, NY, for petitioner.
Debra A. Filteau Begley, Washington, DC, for respondent.

MILLMAN, Special Master


          DECISION AWARDING INTERIM ATTORNEYS’ FEES AND COSTS 1

       On December 19, 2014, the parties filed a stipulation of fact in which they agreed on an
appropriate amount for interim attorneys’ fees and costs in this case.

       Petitioner provided a motion for interim attorneys’ fees and costs to respondent, seeking
$107,238.00 in interim attorneys’ fees and costs and $2,350.00 in petitioner’s interim costs.
During informal discussions, respondent raised objections to certain aspects of petitioner’s
motion, including objections based on Avera v. Sec’y of HHS, 515 F.3d 1343 (Fed. Cir. 2008), and

1
  Because this unpublished decision contains a reasoned explanation for the special master’s action in this
case, the special master intends to post this unpublished decision on the United States Court of Federal
Claims’s website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899,
2913 (Dec. 17, 2002). Vaccine Rule 18(b) states that all decisions of the special masters will be made
available to the public unless they contain trade secrets or commercial or financial information that is
privileged and confidential, or medical or similar information whose disclosure would constitute a clearly
unwarranted invasion of privacy. When such a decision is filed, petitioner has 14 days to identify and
move to redact such information prior to the document=s disclosure. If the special master, upon review,
agrees that the identified material fits within the banned categories listed above, the special master shall
redact such material from public access.
             Case 1:11-vv-00852-UNJ Document 90 Filed 01/09/15 Page 2 of 2



objections to the number of attorney hours sought. Based on these objections, petitioner amends
her application for interim attorneys’ fees and costs to $62,350.00, consisting of $60,000.00 in
interim attorneys’ fees and costs and $2,350.00 in petitioner’s interim costs. Respondent does not
object to this amount. The undersigned finds this amount to be reasonable. Accordingly, the
court awards:

        a.        $60,000.00, representing reimbursement for interim attorneys’ fees and costs to
                  date. The award shall be in the form of a check payable jointly to petitioner and
                  Patricia Finn, Esq. in the amount of $60,000.00; and

        b.        $2,350.00, representing reimbursement for petitioner’s interim out-of-pocket
                  costs to date. The award shall be in the form of a check payable jointly to
                  petitioner and her father, Stuart Miller, in the amount of $2,350.00.

        In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of the
court is directed to enter judgment herewith. 2


IT IS SO ORDERED.


Dated: December 19, 2014                                                           s/ Laura D. Millman
                                                                                    Laura D. Millman
                                                                                      Special Master




2
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party, either separately or
jointly, filing a notice renouncing the right to seek review.
                                                    2
